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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

ARBUTUS BIOPHARMA )Case No.: 22-cv-00252-MSG
CORPORATION AND GENEVANT )
SCIENCES GMBH, )

Plaintiffs,)
MOTION TO INTERVENE

V.
PROPOSED CLASS ACTION

MODERNA, INC. and MODERNATX,
INC.
Defendants.

EMANUEL MCCRAY, On Behalf of
Himself and All Others Similarly Situated,

Intervenors-Plaintiffs.

Nee ee ee

Emanuel McCray (“McCray”), Proposed Intervenor, respectfully moves to

intervene in this action on behalf of himself and all other citizens of the United

States similarly situated, as a class, pursuant to Rule 24 of the Federal Rules of Civil

Procedure (Fed. R. Civ. P.), our sovereign powers reserved to the People in the

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1 |) Tenth Amendment, and our power as a group acting as a class pursuant to Bond v.
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United States, 572 U.S. 844, 853 (2014),! and Califano v. Yamasaki, 442 U.S. 682,
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4 || 700, (1979).?
5 This Motion is supported by the attached Memorandum of Law. A Proposed
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Complaint for declaratory relief as the pleading required under Rule 24
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g || accompanies this Motion To Intervene.
9 For the reasons set forth in the attached Complaint, intervention is warranted
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as of right or permission because Intervenor McCray was born in the United States
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12 || and the proposed class members were either born or naturalized in the United
13 || States, were subjected to the claimed “pandemic”; the measures to control the
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pandemic; and the vaccines produced by the Defendants were for McCray and the
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16 || other putative class members.
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25 ' Holding that: “‘An individual may ‘assert injury from governmental action taken in excess of the authority
that federalism defines.””
26 ? Holding that “class relief is appropriate in civil actions brought in federal court, including those seeking to
overturn determinations of the departments of the Executive Branch of the Government in cases where judicial review
27 of such determinations is authorized.... Indeed, a wide variety of federal jurisdictional provisions speak in terms of
individual plaintiffs, but class relief has never been thought to be unavailable under them.”
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MEMORANDUM OF LAW IN SUPPORT OF MOTION TO INTERVENE
I, Legal Standard.

The proposed Intervenors-Plaintiffs seek intervention (i) as of right or (ii)
permissively, solely to challenge Moderna’s attempt to shift liability for its
“Prototype Pathogen” vaccines to the United States, which would violate the
sovereignty of the United States and the individual sovereignty of the People
reserved in the Tenth Amendment.

What distinguishes intervention from other methods of adding new parties is
that it requires action by an outside party who seeks a seat at the table. See 7C
Charles Alan Wright et al., Federal Practice and Procedure § 1901, at 257-60 (3d
ed. 2007).

The Third Circuit has held that:

“[A] litigant seeking intervention as of right under Rule 24(a)(2) must

establish 1) a timely application for leave to intervene, 2) a sufficient

interest in the underlying litigation, 3) a threat that the interest will be

impaired or affected by the disposition of the underlying action, and 4)

that the existing parties to the action do not adequately represent the

prospective intervenor’s interests. Liberty Mut. Ins. Co. v. Treesdale,

Inc., 419 F.3d 216, 220 (3d Cir. 2005) (citing Kleissler v. United States

Forest Service, 157 F.3d 964, 969 (3d Cir. 1998)). ‘Each of these

requirements must be met to intervene as of right.’” 419 F.3d at 220

(citing Mountain Top Condominium Assoc. v. Dave Stabbert Master
Builder, Inc., 72 F.3d 361, 366 (3d Cir. 1995).

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Il. The Third Circuit’s Requirements for Intervention Have Been Met.

This Motion to Intervene is timely. The Plaintiffs’ Complaint was filed on
February 28, 2022 (Doc. 1).

On November 2, 2022, (Doc. 32), Judge Goldberg denied Moderna’s motion
to dismiss and directed that: “Within fourteen (14) days from the date of this Order,
Defendants shall file an answer to the Complaint.”

On November 30, 2022, Moderna filed an Answer to Plaintiffs’ Complaint,
which was accompanied by a counterclaim against the Plaintiffs (Doc. 35).

On December 21, 2022, Plaintiffs filed an Answer to Defendants’
counterclaim (DOC. 38). On February 14, 2023, the United States filed a Statement
of Interest (Doc. 49). On February 16, 2023, Judge Goldberg filed an Order
directing that: “Within fourteen (14) days from the date of this Order, the parties
and the U.S. Government shall submit a letter of no more than ten pages regarding
the impact of the Governments Statement of Interest on the scheduling of this
matter.” (Doc. 51).

As of the date of this Motion, February 26, 2023, the United States and the
existing parties have not filed the letters mandated by Judge Goldberg on February
16, 2023. Thus, timeliness required by the Third Circuit has been met.

As stated supra and infra, and in the attached Intervenors’ Complaint,

Intervenors have a significant interest in the underlying litigation. Whether Moderna

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can shift its liability for vaccines based on a “prototype pathogen” that required
infringement of Plaintiffs’ patents, is similar enough to the same concern of the
Plaintiffs and the declaratory relief Intervenors seek.

As the sole recipients/targets for Moderna’s COVID-19 vaccines, each citizen
of the United States, pursuant to the “powers” reserved under the Tenth
Amendment, would be the primary and sole enforcer of Moderna’s product liability
for its COVID-19 vaccines.

Moreover, the course of this litigation, which has been abruptly changed with
Moderna’s counterclaim and the statement of interest by the United States,
significantly demonstrates the existing parties represent only their interests.

Thus, a threat is created that the interests of the Intervenors will be impaired
or affected by the disposition of the underlying action, particularly should the
disposition fail to deny Moderna’s unlawful attempt to shift liability to the United
States. See Liberty Mut. Ins., 419 F.3d at 220. Moreover, further litigation is on hold
pending letters regarding the “scheduling of this matter.” (Doc. 51).

Ill. Article IT] Standing To Intervene.

To have standing to sue as a class representative it is essential that a party
must be a part of that class, that is, he must possess the same interest and suffer the
same injury shared by all members of the class he represents. To state differently,

proposed Intervenors’ interest must be “undifferentiated” from that of all other

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residents of the United States. Schlesinger v. Reservists to Stop the War, 418 U.S.
208, 216 (1974). See also Town of Chester v. Laroe Estates, Inc., 1378. Ct. 1645,
1650 (2017) (“Article III of the Constitution limits the exercise of the judicial power
to ‘Cases’ and ‘Controversies.’” (Citation omitted).

The concrete injury here asserted has been alleged in Plaintiff's Complaint:

“Moderna brought its vaccine from lab bench to arms in record speed.
That unprecedented accomplishment was made possible by Moderna’s
use of breakthrough technology Arbutus had already created and
patented—a revolutionary lipid nanoparticle (““LNP”) delivery platform
that took the scientists of Arbutus years of painstaking work to develop
and refine. Moderna was well aware of Arbutus’s LNP patents and
licensed them for other product programs, but it chose not to do so for
its COVID-19 vaccine.” Jd. J 1.

“Without adequate protection, mRNA quickly degrades in the body.

For mRNA vaccines like Moderna’s to work, they must incorporate a

mechanism for protecting the fragile mRNA, delivering it through cell

membranes, and then releasing it inside the cell. In the words of one

Nobel Prize winning scientist, the secret for making RNA-based

products work has always been “delivery, delivery, delivery. Jd. § 3.

Moderna’s alleged patent infringements; Moderna’s highly volatile COVID-
19 vaccines; Moderma’s counterclaim and the United States’ Statement of Interest
seeking to transfer liability to the United States, combine to significantly complicate
the chain of product and Government tort liability associated with the Federal class

tort claims filed by putative class members Jerzy Gruca (“Gruca”), HHS

Administrative Tort Claim No. 2021-0064; Emanuel McCray, HHS Administrative

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Tort Claim No. 2020-1415,° and others, for the case Marta Reyes, et al. v. Republic
of China, et al., Class Action No. 20-cv-21108-AMC in the U.S. District Court for
the Southern District of Florida (Miami), filed on March 12, 2020.

The Miami class action is currently on administrative hold to allow the
Plaintiffs time to “Continue Service of Process Pursuant To The FSIA” against the
Peoples Republic of China, et al. and to amend the Complaint by “expand[ing] the
factual allegations of how the pandemic unfolded and how agents and actors of
Defendants committed wrongful acts within the United States...since the research
for the April 15" [2021] brief does appear to lead to additional U.S. based
defendants who acted on behalf of or in aid of China to further the pandemic....” Jd.
{I 6-9.

Any shift of patent infringement liability from Moderna to the United States
would arguably affect the class action tort claims filed against the United States and
the allegations of how CCP actors and agents within the United States conducted
themselves and furthered the pandemic, including Moderna’s infringement of
Plaintiffs’ patents and the safety and efficacy of Defendants’ vaccines that are

delivered by Plaintiffs’ vaccine delivery vehicles.

3 See Exhibit 3 to Intervenors’ Complaint (Letter from Department of Health and Human Services).

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IV. Permissive Intervention.

The proposed Intervenors also satisfy the requirements for permissive
intervention, which is governed by the provisions of Fed. R. Civ. P. Rule 24(b).

Proposed Intervenors can assert both factual and legal questions directly
related to the main action, Defendants’ counterclaim, and the United States’
statement of interest.

The proposed Intervenors simply seek to protect our “health and well-being”
and our individual sovereignty. Intervention will significantly contribute to the just
and equitable adjudication of the legal questions thus presented.

VII. CONCLUSION.

For the reasons set forth above, the proposed Intervenors-Plaintiffs
respectfully request that the Court grant their motion to intervene as of right, or, in
the alternative, allow the Proposed Intervenors-Plaintiffs to intervene permissively.

Respectfully submitted this 26" day of February 2023.

Cimanwk Ulery.
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